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January 14, 2020                                                                       VIA ECF & Hand Delivery

Honorable Alvin K. Hellerstein
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

Re: SEC v. Kik Interactive, No. 19-cv-5244 (AKH)

Dear Judge Hellerstein:

         Pursuant to Local Rule 37.2 and Rule 2(E) of Your Honor’s Individual Rules of Practice,
the parties write to request the Court’s intervention regarding a discovery dispute concerning the
U.S. Securities and Exchange Commission’s (“SEC”) 30(b)(6) deposition notice (the “Notice”) to
Kik Interactive, Inc. (“Kik” or the “Company”). Specifically, Kik seeks a protective order precluding
the deposition. Alternatively, Kik requests that the Court meaningfully narrow the deposition
topics. A copy of the Notice is attached to this letter as Exhibit A. The parties met and conferred
regarding this dispute twice by telephone. On November 19, 2019, Patrick Gibbs, Brett De
Jarnette, and Michael Welsh of Cooley LLP (“Cooley”) spoke for approximately 20 minutes with
Stephan Schlegelmilch, David Mendel, and Laura D’Allaird of the SEC. When it was apparent
the parties would not resolve the dispute, Kik sent the SEC a proposed letter to this Court seeking
a protective order on November 27, 2019. The SEC responded on December 8, 2019 by sending
Kik an Amended Rule 30(b)(6) notice (the “Amended Notice”). A copy of the Amended Notice is
attached as Exhibit B. On December 11, 2019, Mr. Gibbs, Mr. De Jarnette, and Jenna Bailey
from Cooley again spoke to Mr. Schlegelmilch, Mr. Mendel, and Ms. D’Allaird from the SEC, this
time for approximately 10 minutes about the Amended Notice. On December 18, 2019, and as
the parties discussed, Kik sent the SEC a letter explaining its basis for objecting to the topics in
the Amended Notice and encouraged the SEC to narrow its topics. On December 20, 2019, the
SEC stated its view that the parties were still no closer to a resolution and sent Kik its portion of
this letter. On January 6, 2020, Kik sent the SEC a revised version of Kik’s portion of the letter,
and, on January 10, the SEC sent Kik revisions to the SEC’s portion. The parties set forth their
respective positions regarding this deposition below.

                                            KIK’S POSITION

  I.   Introduction

       After conducting a year-and-a-half long investigation, taking 15 days of testimony from 11
Kik personnel, compiling a 90,000 document investigative file, and receiving substantial written
responses over the course of two years about every aspect of this case, the SEC now seeks
corporate testimony on hundreds of topics or subtopics, either noticed expressly in their Rule

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30(b)(6) Notice or by reference to other discovery documents. The SEC claims that it needs to
take a Rule 30(b)(6) deposition of Kik, at the very end of fact discovery, purportedly to “streamline”
the discovery process. But the SEC’s proposed deposition would do no such thing. Instead, it
would burden Kik with preparing for an unnecessary deposition, entirely duplicative of the vast
discovery record in this case, and one in which the topics are so expansive that there are
essentially no boundaries on questions the SEC may ask.

        The SEC claims it is entitled to a 30(b)(6) deposition as a matter of course because the
noticed topics are “relevant,” without regard to scope of permissible discovery under Rule 26. The
SEC is wrong. Indeed, courts routinely preclude 30(b)(6) depositions or strike topics. 1 But more
importantly, the SEC’s position is flatly inconsistent with its own refusal to produce a Rule 30(b)(6)
witness to Kik, on topics that were indisputably “relevant” to Kik’s defense of the case, including
topics seeking to permit Kik to better understand the facts underlying the SEC’s allegations. (ECF
No. 27.) Here, the Court has even more reason to deny a Rule 30(b)(6) deposition of Kik because
the SEC’s claim against Kik is supposed to turn solely on objective evidence, necessitating less
discovery than Kik’s vagueness affirmative defense, which turns on both objective and subjective
evidence. Compare Hayes v. New York Attorney Grievance Comm., 672 F.3d 158, 163 (2d Cir.
2012) (subjective testimony from regulating entity was relevant in finding a statute
unconstitutionally vague) with Warfield v. Alaniz, 569 F.3d 1015, 1021 (9th Cir. 2009) (determining
whether a transaction is an “investment contract” under Securities and Exchange Commission v.
W. J. Howey Co., 328 U.S. 293 (1946) is an “objective inquiry.”). It would be manifestly unfair to
deny Kik any testimony from the SEC, including Rule 30(b)(6) and percipient witness depositions,
while allowing the SEC to burden Kik with a limitless Rule 30(b)(6) notice after the two years of
discovery it has already taken.

        Importantly, the SEC does not dispute that the Amended Notice requests information it
has already received during discovery. Instead, it claims that it is entitled to a Rule 30(b)(6)
deposition because such deposition binds the company whereas individual testimony does not.
The SEC’s argument is misguided. Kik’s document productions and written responses are
entirely duplicative of the information sought, which renders the proposed deposition entirely
unnecessary. The SEC fails to explain otherwise. Further, Kik has repeatedly offered to
designate portions of individual testimony as being on behalf of the company, and even agreed
to stipulate that certain of Mr. Livingston’s are corporate admissions. The SEC has refused these

1 E.g., Blackrock Allocation Target Shares: Series S Portfolio v. Wells Fargo Bank, Nat. Assoc., 2017 WL

9400671, at *2 (S.D.N.Y. Apr. 27, 2017) (striking topics seeking overbroad and duplicative testimony); Janki
Bai Sahu v. Union Carbide Corp., 528 Fed. App’x 96, 103 (2d Cir. 2013) (affirming preclusion of 30(b)(6)
testimony where requests were overbroad and cumulative); Apple Inc. v. Samsung Elec. Co., Ltd., 2012
WL 1511901, at *2-3 (N.D. Cal. Jan. 27, 2012) (granting protective order where Rule 30(b)(6) notice was
“facially excessive” and the number and breadth of the subject areas “render[ed] unworkable” the
responding party’s obligation to designate and prepare a witness); Bowers v. Mortgage Elec. Registration
Sys., Inc., 2011 WL 6013092, at *7 (D. Kan. Dec. 2, 2011) (granting protective order where some categories
were not described with reasonable particularity and those that were were “otherwise so overly broad that
they subject [the responding party] to an undue burden in attempting to respond to the deposition notice.”);
Nicholas v. Wyndham Int’l, Inc., 373 F.3d 537, 543 (4th Cir. 2004) (finding Rule 30(b)(6) testimony
inappropriate as the topics were duplicative of previous information received).


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offers at every turn. Kik should not be punished through a burdensome and duplicative deposition
as a result.

        The SEC’s Amended Notice is improper, and a protective order is appropriate, for two
reasons that the SEC does not meaningfully dispute. First, the SEC’s proposed topics are
extremely overbroad and fail to come anywhere close to the “painstaking specificity” that Rule
30(b)(6) requires. Prokosch v. Catalina Lighting, Inc., 193 F.R.D. 633, 638 (D. Minn. 2000). As
courts have found in many similar circumstances, the topics do not provide Kik with adequate
notice to prepare a witness to testify on behalf of the Company. See n.1, infra. Kik has repeatedly
told the SEC that it will produce a 30(b)(6) witness if the noticed topics are compliant with the
Federal Rules. But the SEC has instead chosen to stick with its dozens of infinitely broad topics,
imposing virtually no boundaries on questions it could ask a witness. And, in its one purported
attempt to “narrow” the scope of the notice, the SEC actually added topics, including over 100
responses to requests for admission (“RFAs”) that were incorporated by reference. Tellingly, the
SEC does not address Kik’s argument that the noticed topics are overbroad. See infra at 16. Nor
does it contest that a protective order is appropriate under such circumstances. Instead, the SEC
argues only that the topics are relevant. They are not, but in any event, relevance alone is not a
reason to burden Kik with a Rule 30(b)(6) deposition.

         Second, the proposed deposition is duplicative of the vast information the SEC obtained
in both its investigation and this litigation. The SEC does not dispute this and instead insists that
it is entitled to a Rule 30(b)(6) deposition regardless. But a Rule 30(b)(6) deposition should not
be used as a vehicle to obtain an additional deposition of a percipient witness or as a catch-all to
reexamine the universe of information already produced. See Edwards v. Scripps Media, Inc.,
331 F.R.D. 116, 121 (E.D. Mich. 2019) (describing situations where a party may not be required
to produce a 30(b)(6) witness as including when the deposition “would be used inefficiently ‘as a
catch-all technique to reexamine’” information the opposing party already produced) (internal
citations omitted). Here, the time, effort, and resources to prepare an individual to testify imposes
a burden on Kik that is wildly disproportionate to the needs of the case, especially given the vast
discovery record already produced in this case. Bigsby v. Barclays Capital Real Estate, Inc., 329
F.R.D. 78, 81 (S.D.N.Y. 2019) (striking certain topics that imposed a disproportionate burden on
the responding party). Even before taking discovery in this matter, the SEC, unlike a typical
litigant, had the benefit of (and Kik was subjected to) a year-and-a-half long investigation. During
its investigation and this litigation, the SEC has taken dozens of hours of testimony from Kik’s
senior management and other employees, noticed many of them for additional depositions, and
has received tens of thousands of documents and detailed responses to written discovery and
other questions. The SEC has implicitly acknowledged the adequacy of that discovery; it does
not identify in more than a conclusory fashion any information it has not already received from
Kik. Moreover, the SEC’s conduct suggests discovery to date has been adequate. The SEC (1)
withdrew the deposition subpoena of Kik’s CEO, (2) did not propound a single interrogatory, and
(3) did not seek further RFA responses. Finally, the SEC has refused to seek the information




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through less burdensome means as it has rejected Kik’s offers to stipulate to facts or to designate
previous testimony as made on behalf of the Company. 2

        For the reasons described herein, Kik respectfully requests that the Court issue a
protective order. 3

  II.   A Protective Order Is Warranted Because the Amended Notice Is Improper.

        Courts have discretion to issue protective orders to bar depositions and limit discovery to
protect a party from “annoyance, embarrassment, oppression, or undue burden or expense.” Fed.
R. Civ. P. 26(c); see Progress Bulk Carriers v. Am. S.S. Owners Mut. Prot. & Indem. Ass’n, Inc.,
939 F. Supp. 2d 422, 427 (S.D.N.Y. 2013), aff’d, 2 F. Supp. 3d 499 (S.D.N.Y. 2014); Favale v.
Roman Catholic Diocese of Bridgeport, 235 F.R.D. 553, 555 (D. Conn. 2006). The fact that
requested information is in some way relevant does not mean that a party is entitled to it in
discovery. Rather, courts are required to “limit the frequency or extent of discovery otherwise
allowed” if: 1) “the discovery sought is unreasonably cumulative or duplicative, or can be obtained
from another source that is more convenient, less burdensome, or less expensive; 2) the party
seeking discovery has had “ample opportunity to obtain the information by discovery in the action”;
or 3) the proposed discovery is beyond the scope of Rule 26. Fed. R. Civ. P. 26(b)(2)(C);
see Nicholas v. Wyndham Int’l, Inc., 373 F.3d 537, 543 (4th Cir. 2004) (“[T]he simple fact that
requested information is discoverable . . . does not mean that discovery must be had.”); Apple,
2012 WL 1511901 at *3 (Rule 26 directs courts to “limit the extent of otherwise relevant discovery
where the benefit to and need of the propounding party is outdone by the burden, expense” and
“impracticable demand” imposed on a party). Because of “the potential impact of the testimony
that can be obtained through [Rule 30(b)(6) depositions], courts should scrutinize Rule 30(b)(6)
notice topics for proportionality, burden, and reasonable particularity to ensure that the responding
party can select and prepare the most suitable witness and so that the topics do not engender
abuse of the process by either party.” Blackrock Allocation Target Shares: Series S Portfolio v.
Wells Fargo Bank, Nat. Assoc., 2017 WL 9400671, at *2 (S.D.N.Y. Apr. 27, 2017). Accordingly,
courts have barred Rule 30(b)(6) depositions or have stricken topics that seek overbroad,
duplicative, or wasteful testimony. See n.1, infra.

    A. The Noticed Topics Are Not Designated with “Painstaking Specificity,” so as to
       Allow Kik to Adequately Prepare an Individual to Testify.

      Rule 30(b)(6) requires parties to “describe with reasonable particularity the matters for
examination.” Fed. R. Civ. P. 30(b)(6). In other words, the noticing party must designate topics

2 Given the massive amount of testimony, documents, and other information that Kik has already provided

in connection with the SEC’s investigation and discovery in this matter, and given further that discovery is
virtually complete at this point, the SEC’s suggestion that an additional, repetitive, overbroad, unnecessary
and burdensome Rule 30(b)(6) deposition would serve to streamline discovery is disingenuous.

3 In the alternative, Kik respectfully requests that the Court meaningfully narrow the topics it determines to

lack the requisite specificity (as described below) that would allow Kik to designate and reasonably prepare
a representative to testify on behalf of the Company.

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“with painstaking specificity” to allow a corporation to adequately prepare an individual to testify
on its behalf. Prokosch v. Catalina Lighting, Inc., 193 F.R.D. 633, 638 (D. Minn. 2000); see also
Blackrock Allocation Target Shares, 2017 WL 9400671 at *1 (noting that “a Rule 30(b)(6)
deposition should not be a ‘memory contest’ of topics better suited to a written response or a
supplemental document production.”); Murphy v. Kmart Corp., 255 F.R.D. 497, 505-06 (D.S.D.
2009) (finding that topics of “the corporate history of four corporate entities [and] the corporate
relationship between these entities” covered a “tremendous amount of information” and ordering
noticing party to amend notice to reasonably narrow or clarify the lines of inquiry); Alvey v. State
Farm Fire & Casualty Co., 2018 WL 826379, at *7 (W.D.K.Y. Feb. 9, 2018) (striking noticed topics
as overbroad). Topics that are so “wide-ranging and broad” subject the responding party to an
undue burden and prevent it from “identify[ing] the outer limits of the areas of inquiry noticed, and
designating a representative in compliance with the deposition notice.” Bowers, 2011 WL 601392
at *4.

        The topics in the SEC’s Amended Notice do not come close to the reasonable particularity
that Rule 30(b)(6) requires. The SEC does not meaningfully dispute this. Below, the SEC asserts
that its topics are described with reasonable particularity but does nothing other than simply
restate the topics and suggest they are relevant. (Opp. at 16-17.) Of course, relevance does not
mean the SEC has identified the topics with the specificity the Rules require.

        As Kik has told the SEC, the topics in the Amended Notice are so expansive that there
would be virtually no boundaries on the scope of the deposition. For example, the SEC seeks
testimony about “Public statements and presentations by Kik executives, employees,
representatives and/or agents relating the Kin token offering . . .” (Amended Topic 5). The SEC
does not identify any specific statement, but instead unreasonably expects Kik to prepare a
witness to answer any question about any statement ever made about Kik’s sale of Kin. The
remainder of the noticed topics are riddled with the same overbreadth, imposing no parameters
with respect to scope.

         Notably, in response to Kik’s initial position statement about this deposition, the SEC
amended its notice, in a superficial way that actually expanded the scope of the proposed
deposition: the SEC added topics 13 through 17. The SEC included five new topics about Kik’s
prior written discovery, making the topics by definition duplicative and therefore improper. The
ruling in Edwards is illustrative. 331 F.R.D. at 125. In that case, a party noticed topics relating to
discovery responses. The Court prohibited such “discovery about discovery” as it was “irrelevant
and not important to resolve the case” and because “the burden of requiring defendant to prepare
a witness to testify about these matters outweighs the likely benefit.” 4 Id.; see also Washington-
St. Tammany Elec. Coop., Inc. v. Louisiana Generating, LLC, 2019 WL 1804849, at *12 (M.D. La.
April 24, 2019) (finding overly broad a 30(b)(6) topic that generally refers to written discovery).



4 In an effort to compromise and resolve this issue without court intervention, Kik sent the SEC a letter

detailing the issues with the Amended Notice, encouraging the SEC to narrow its topic. See Ex. C, Gibbs
Letter to Schlegelmilch of December 18, 2019. The SEC refused to narrow its topics and unilaterally
declared the parties at impasse.

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As in Edwards, the Amended Notice adds the following topics (Amended Topics 13-17), which
seeks discovery about over 100 written responses that are incorporated by reference:

    •   13. “The topics covered by your letter dated November 17, 2017” – This topic calls for
        testimony about a 12-page narrative response that Kik provided to the SEC over two years
        ago discussing how Kik used proceeds of the SAFT sales, its KYC and AML processes,
        information about Kik users, and the public-sale, among dozens, if not more, other factual
        categories.

    •   14. “The topics covered by the stipulation dated November 12, 2019” – This topic calls
        for testimony about a stipulation the parties entered into in lieu of the deposition of Kik’s
        CEO, containing 41 paragraphs.

    •   15. “The topics covered by your letter dated November 4, 2019” – This topic calls for
        testimony about a narrative letter addressing 11 requests for production, encompassing
        discussion of distinct and particular facts concerning various subject matter.

    •   16. “Kik’s responses to the SEC’s Requests for Admission Nos. 51, 77, 86, 99, 107, 109-
        114, 117-129, 132-136, 144-148” – This topic seeks testimony about nearly 30 responses
        to requests for admission. Not only has Kik provided responses to those requests, but
        many of such requests were deficient.

    •   17. “Testimony Exhibit 206” – This topic calls for testimony about Kik’s responses to more
        than 80 requests for admission Kik provided over a year ago. These requests include
        Kik’s sale of Kin during the public sale; Kik’s screening, KYC, and AML processes for
        purchasers; Kik’s sale of SAFTs from June to September 2017; Kik’s use of revenue from
        the public sale; the banks in which Kik deposited that revenue; and the structure and
        conduct           of          the          Kin            Ecosystem            Foundation.

        In addition to the above-referenced topics, every other Amended Topic contains numerous
deficiencies as summarized by the below chart. These topics in the aggregate create an unending
universe of questions about which the SEC could ask a witness, preventing Kik from being able
to adequately prepare a witness to testify on behalf of the Company.

 Topic in Amended Notice                          Kik’s Objections              Prior Testimony or
                                                                                Admissions by Kik Covering
                                                                                This Topic
Topic No. 1: Kik’s corporate                      Lacks specificity,            Depositions of P. Heinke; I.
structure, ownership and offices                  overbroad,                    Leibovich; and E. Ben-Ari;
between January 1, 2017 and the                   irrelevant,                   Nov. 11 Stipulation ¶¶ 1, 41
present.                                          duplicative, could            RFA No. 79
                                                  have been obtained            Investigative testimony of E.
                                                  by less intrusive             Lyon, E. Livingston, E. Clift
                                                  means.


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 Topic in Amended Notice                          Kik’s Objections              Prior Testimony or
                                                                                Admissions by Kik Covering
                                                                                This Topic
Topic No. 2: Kik’s current financial              Lacks specificity,
condition and operations.                         overbroad,
                                                  irrelevant,
                                                  duplicative, could
                                                  have been obtained
                                                  by less intrusive
                                                  means.

Topic No. 3: “Kik’s plan for the Kin              Lacks specificity,            Depositions of P. Heinke;
token offering, including Kik’s plan for          overbroad,
the use of the Kin token offering                 duplicative, could            Investigative Testimony of E.
proceeds; Kik’s planned time frame                have been obtained            Lyon, E. Livingston
for the Kin token offering, including             by less intrusive
the timing of any sales of Kin to the             means.
public, and any changes to this time
frame and reasons therefore.”
Topic No. 4: “Kik’s announcement                  Lacks specificity,            Depositions of P. Heinke;
and marketing of Kin to potential                 overbroad,                    Nov. 11 Stipulation;
purchasers, including Kik’s                       duplicative, could            Investigative Testimony of E.
knowledge of the dissemination of                 have been obtained            Livingston, T. Philp, E. Clift
video recordings relating to Kin on               by less intrusive
the internet, either by Kik or third              means.
parties.”




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 Topic in Amended Notice                          Kik’s Objections              Prior Testimony or
                                                                                Admissions by Kik Covering
                                                                                This Topic
Topic No. 5: “Public statements and               Lacks specificity,            Nov. 11 Stipulation;
presentations by Kik executives,                  overbroad,                    RFA Nos. 13-14, 16, 18-19, 24,
employees, representatives and/or                 duplicative, could            26, 32;
agents relating the Kin token offering,           have been obtained            Investigative Testimony of E.
including but not limited to” 12                  by less intrusive             Livingston, T. Philp, E. Clift
subtopics, including, for example:                means, calls for
    • “All statements made by Kik                 testimony about
       executives, employees,                     statements made
       representatives and/or agents              by non-Kik
       on social media relating to                employees; calls
       Kin, including, but not limited            for testimony
       to, Twitter, Slack, and                    “including but not
       Medium”                                    limited to”
    • “Statements of persons                      subtopics. 5
       including Kik CEO Edward
       Livingston at the ‘Token
       Summit” in New York, New
       York on May 25, 2017”
    • “Statements of persons
       including Kik CEO Edward
       Livingston and Kik board
       member Fred Wilson in a
       video recording made publicly
       available on the website
       AVC.com as of May 27,
       2017”
    • And several additional
       subtopics




5 Topic 5 further calls for a Kik designee to be prepared to testify about all the statements of unknown

attendees at numerous identified and unidentified meetings and about every Kik employee’s social-media
account.

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 Topic in Amended Notice                          Kik’s Objections              Prior Testimony or
                                                                                Admissions by Kik Covering
                                                                                This Topic
Topic No. 6: “Kik’s consideration of              Lacks specificity,            Deposition of P. Heinke and R.
whether the offer and sale of Kin was             overbroad,                    McKee;
an offer and sale of an investment                irrelevant,
contract under the federal securities             duplicative, could            Investigative Testimony of E.
laws, including (a) Kik and Kik’s                 have been obtained            Lyon, P. Holland, T. Philp
executives’ review of the DAO                     by less intrusive
Report; (b) Kik executive and                     means. 6
employee communications with the
Ontario Securities Commission
relating to whether the offer and sale
of Kin was an offer and sale of an
investment contract; and (c) Kik’s
efforts, if any, to contact the SEC
about Kin on or before September
26, 2017.”
Topic No. 7: “Kik’s efforts to enter              Lacks specificity,            Deposition of P. Heinke;
into SAFTs, including the dates and               overbroad,                    RFA Nos. 41-46, 50-52, 54-72
terms of the SAFTs, including the                 duplicative, could            Investigative Testimony of E.
ability of purchasers to cancel and/or            have been obtained            Lyon, P. Holland, T. Philp
withdraw from the SAFTs.”                         by less intrusive
                                                  means.
Topic No. 8: “Details and                         Lacks specificity,            Depositions of P. Heinke;
circumstances of the development of               overbroad,                    I. Leibovich; and E. Ben-Aril;
the ‘Minimum Viable Product’ (‘MVP’)              duplicative, could            Investigative Testimony of P.
of Kin as referred to in Kik’s Answer             have been obtained            Holland, T. Philp, E. Clift
to Paragraph 100 of the Complaint,                by less intrusive
including (a) Kik’s marketing of the              means.
MVP before sales of Kin to the public;
and (b) The status of the MVP as of
September 12, 2017.”




6 In addition to deposing each Kik employee involved in these discussions, the SEC previously deposed

Kik’s outside counsel on these same topics. There is simply no testimony Kik could provide that the SEC
does not already possess.

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 Topic in Amended Notice                          Kik’s Objections              Prior Testimony or
                                                                                Admissions by Kik Covering
                                                                                This Topic
Topic No. 9: “The details of Kik’s                Lacks specificity,            4/9/18 Investigative RFA Nos.
public sale of Kin in September 2017,             overbroad,                    38, 51-59;
and Kik’s efforts during the public               duplicative, could
sale, including (a) Kik’s disclosures             have been obtained            6/22/18 Investigative RFA Nos.
about Kin to potential purchasers                 by less intrusive             39-41;
and/or purchasers; (b) Kik’s sales,               means.
including but not limited to the terms                                          Depositions of P. Heinke and E.
of the sales, and the consideration                                             Ben-Aril; Investigative
paid by purchasers; (c) Kik’s                                                   Testimony of E. Livingston, T.
structure of the public sale, including,                                        Philp
but not limited to, multiple rounds of
sales, as well as caps on purchase
amounts.”
Topic No. 10: The delivery and                    Lacks specificity,            6/22/18 Investigative RFA Nos.
allocation of Kin tokens to SAFT                  overbroad,                    44-45;
participants, public sale purchasers,             duplicative, could
Kik, the Kin Foundation, and/or any               have been obtained            Depositions of P. Heinke and E.
other individual or entity in                     by less intrusive             Ben-Ari;
September 2017.                                   means.
                                                                                Investigative Testimony of E.
                                                                                Livingston, T. Philp
Topic No. 11: “Kik’s planned and                  Lacks specificity,            Depositions of P. Heinke and E.
actual use of the Kin token offering              overbroad,                    Ben-Ari
proceeds, including, but not limited              duplicative, could
to (a) Bank accounts, digital wallets,            have been obtained            RFA Nos. 60-61, 65
or any other location where Kik kept              by less intrusive
or maintained the Kin token offering              means, calls for              Investigative Testimony of E.
proceeds; (b) Kik’s plan for the use of           testimony                     Lyon, P. Holland, T. Philp;
the proceeds; (c) Kik’s actual use of             “including but not
the proceeds; and (d) Kik’s public                limited to”                   6/22/18 Investigative RFA Nos.
statements prior to the public sale in            subtopics.                    46-52
September 2017 about how it would
use the Kin token offering proceeds.”




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 Topic in Amended Notice                          Kik’s Objections              Prior Testimony or
                                                                                Admissions by Kik Covering
                                                                                This Topic
Topic No. 12: “The development,                   Lacks specificity,            4/9/18 Investigative RFA Nos.
creation and operation of the Kin                 overbroad,                    38, 42-47, 51-56, 59;
Ecosystem, including, but not                     duplicative, could
limited to” for example:                          have been obtained            6/22/18 Investigative RFA Nos.
    • “Attributes of the Kin                      by less intrusive             60-62;
        Ecosystem that existed as of              means, calls for
        May 25, 2017”                             testimony                     Deposition of E. Ben-Ari and I.
    • “All the ways in which ‘Kin’s               “including but not            Leibovich
        fundamental utility as a digital          limited to”
        currency existed on the date              subtopics.                    Investigative Testimony of E.
        of the TDE’ and how ‘Kin                                                Lyon, E. Livingston, T. Philp
        owners could use Kin for
        peer-to-peer transactions’ as
        of September 26, 2017, as
        stated in Kik’s Answer to
        Paragraph 16 of the
        Complaint”
    • “All the ways in which ‘Kin
        was integrated into Kik
        Messenger’ at the time of the
        public sale in September
        2017, as stated in Kik’s
        Answer to Paragraphs 132
        and 140 of the Complaint”
    • “All the ways in which ‘the Kin
        economy existed,’ and ‘the
        Kin economy was functional
        as of the date of the
        September 26, 2017
        distribution as stated in Kik’s
        Answers to Paragraphs 61,
        126, 132, 140, 175 of the
        Complaint”
    • And eight additional
        categories
Topic No. 13: The topics covered by               Lacks specificity,            Duplicative of Kik’s responses
your letter dated November 17, 2017.              overbroad,                    to SEC’s Requests for
                                                  duplicative, seeks            Admission and topics the SEC
                                                  impermissible                 purported to omit in Amended
                                                  “discovery about              Notice.
                                                  discovery”


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 Topic in Amended Notice                          Kik’s Objections              Prior Testimony or
                                                                                Admissions by Kik Covering
                                                                                This Topic
Topic No. 14: The topics covered by               Lacks specificity,
the stipulation dated November 12,                overbroad,
2019.                                             duplicative, seeks
                                                  impermissible
                                                  “discovery about
                                                  discovery”

Topic No. 15: The topics covered by               Lacks specificity,            Duplicative of Kik’s responses
your letter dated November 4, 2019.               overbroad,                    to SEC’s Requests for
                                                  duplicative, seeks            Admission; Requests for
                                                  impermissible                 Production of Documents; and
                                                  “discovery about              narrative responses.
                                                  discovery”

Topic No. 16: Kik’s response to the               Lacks specificity,            Duplicative of Kik’s responses
SEC’s Requests for Admission Nos.                 overbroad,                    to SEC’s Requests for
51, 77, 86, 99, 107, 109-114, 117-                duplicative, seeks            Admission and topics the SEC
129, 132-136, 144-148.                            impermissible                 purported to omit in Amended
                                                  “discovery about              Notice.
                                                  discovery”

Topic No. 17: Testimony Exhibit 206.              Lacks specificity,            Duplicative of 80+ responses to
                                                  overbroad,                    Requests for Admission
                                                  duplicative, seeks            including topics SEC purports
                                                  impermissible                 to omit from Topic 9
                                                  “discovery about
                                                  discovery”

        A protective order is appropriate here for the same reasons the Court granted one to the
SEC: the SEC's claim relies on objective evidence about what purchasers were offered or
promised. When determining whether an investment contract existed, Howey dictates that courts
“must focus [the] inquiry on what purchasers were offered or promised” and must therefore
“conduct an objective inquiry into the character of the instrument or transaction offered
based on what purchasers were ‘led to expect.’” See Warfield v. Alaniz, 569 F.3d 1015, 1021
(9th Cir. 2009) (emphasis added). The SEC argues that it is entitled to a Rule 30(b)(6) deposition
as a matter of course because the topics are supposedly relevant. (Opp. at 16-17.) But none of
the SEC’s Rule 30(b)(6) topics are necessary to prove the objective facts about what purchasers
were “led to expect” in connection with Kik’s sale of Kin tokens in 2017. Given its position with
respect to Kik’s highly relevant topics for its own 30(b)(6) notice, it would be manifestly unjust for
the Court to grant the SEC the right to a 30(b)(6) deposition regarding topics that bear no relation
to its case. Because the Amended Topics effectively prevent Kik from preparing a witness to



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adequately testify and are irrelevant, the Court should issue a protective order precluding the
deposition.

    B. All of the Topics Sought by the SEC Are Cumulative, Duplicative, and Such
       Information Should Have Been Obtained by Less Burdensome Means.

       “Like other forms of discovery, a Rule 30(b)(6) deposition notice is subject to the limitations
under Federal Rule 26—deposition topics should be proportional to the needs of the case, not
unduly burdensome or duplicative, and described with ‘reasonable particularity.’” Bigsby, 329
F.R.D. at 81. In other words, Rule 30(b)(6) topics are improper when they request information
already obtained in discovery. Id. (prohibiting deposition on multiple 30(b)(6) topics seeking
already known information); In re Zyprexa Prods. Liability Litig., 2009 WL 9522945, at *1-2
(E.D.N.Y. Feb. 18, 2009) (precluding 30(b)(6) deposition that covered the same subject matter as
produced documents). As a result, a “court should strike notice topics that would result in a
witness merely testifying to information readily available through document production.”
Blackrock Allocation Target Shares, 2017 WL 9400671, at *2 (striking deficient 30(b)(6) topics);
see Bellinger v. Astrue, 2011 WL 4529602, at *3-4 (E.D.N.Y. Sept. 28, 2011) (Rule 30(b)(6)
deposition unreasonably duplicative where plaintiff already deposed percipient witnesses and had
obtained “ample discovery” from documents); see Virginia Dep’t of Corrections v. Jordan, 921
F.3d 180, 194 (4th Cir. 2019), cert denied sub nom. Jordan v. VA DOC, 2019 WL 6833407 (U.S.
Dec. 16, 2019).

       The Second Circuit’s decision in Janki Bai Sahu v. Union Carbide Corp. is instructive for
analyzing when a Rule 30(b)(6) deposition is cumulative. 528 Fed. App’x 96, 103 (2d Cir. 2013).
There the Court found that a 30(b)(6) deposition was inappropriate where the noticing party, “ha[d]
not explained why the depositions would not be cumulative, why the request was not purely
speculative, or why, in light of the extensive discovery permitted in this case, she was not afforded
a reasonable opportunity to elicit information from [the opposing party].” 7 Similarly, in Nicholas,
the Fourth Circuit affirmed the preclusion of a Rule 30(b)(6) deposition, where the noticing party
already obtained relevant document discovery and deposed two key witnesses, one of whom
would have been designated as the corporate representative. 373 F.3d 537, 543 (4th Cir. 2004). 8

       Contrary to the SEC’s characterization, Kik does not contend that Rule 30(b)(6)
depositions are always “extraordinary” and “necessarily-oppressive” discovery. (Opp. at 14.) But

7 Sahu involved a renewed request for a deposition that the requesting party was not able to take during

discovery. The SEC attempts to distinguish the case on grounds that the deposition involved events that
occurred longer ago than the events in this case. The court in Sahu noted that “no one type of discovery
is necessarily an adequate substitute for another.” 528 Fed. App’x at 103-04 (internal quotations omitted).
Kik agrees. But, as is appropriate here, a court has discretion to limit discovery if it would be “cumulative
or if the request is based only on speculation as to what potentially could be discovered.” 528 Fed. App’x
at 103-04.
8 The SEC similarly suggests Nicholas is inapplicable as it involves extraordinary circumstances. But the

SEC does not acknowledge the two facts that are glaringly similar: 1) like in Nicholas, Kik’s 30(b)(6)
designee would be one or more of the witnesses who have already testified in their individual capacities,
and 2) there is no further information about liability or damages that the witness could provide that the SEC
does not already have.

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in this case, where the questions to which the SEC seeks answers have been answered multiple
times in testimony and written discovery, allowing a Rule 30(b)(6) deposition to proceed would
impose an undue burden on the party that has already provided those answers, see Blackrock
Allocation Target Shares, 2017 WL 9400671, at *2, and run contrary to the SEC’s supposed goal
of “streamlining” discovery. The SEC’s cases do not suggest otherwise. Reilly v. Natwest
Markets Grp. Inc., which the SEC cites on page 15, simply recites the general obligations of Rule
30(b)(6); it does not address the considerations of Rule 26 about when even relevant discovery
may be limited. 181 F.3d 253, 268 (2d Cir. 1999). The same is true for In re Vitamins Antitrust
Litig., 216 F.R.D. 168, 174 (DDC 2003), which ordered a corporation to produce a 30(b)(6)
designee without considering whether there were other sworn statements made by the
corporation, or whether the corporation had offered to designate individual testimony as binding.
(Opp. at 15.)

            1. The Amended Notice Is Duplicative of Percipient Witness Testimony.

        The SEC no longer disputes that the Amended Topics are duplicative of individual
testimony. Eleven of the most knowledgeable Kik personnel already testified about virtually every
Amended Topic, and Kik has agreed to designate portions of that testimony as being made on
behalf of the Company. See Table at 5-9, supra. For example, CEO Ted Livingston testified for
nearly 15 hours over the course of two days about the initial development and plan for launching
Kin and the reasons for doing so (Amended Topics 3(a)-(b)); statements Kik made about its sale
of Kin (Amended Topic 5); Kik’s financial performance and efforts to monetize and sell Kik
Messenger (Amended Topics 2(a)-(e)); and Kik’s marketing of Kin to potential purchasers
(Amended Topic 4). The testimony was so comprehensive that the SEC effectively conceded its
sufficiency when it withdrew Mr. Livingston’s deposition notice. Similarly, the SEC questioned
Kik’s former CFO and COO Peter Heinke for over 13 hours over the course of three days about
SAFTs (Amended Topics 7, 10) and whether Kik achieved a minimum viable product before
launching the token distribution event (Amended Topics 8(a)-(b)). These dates of testimony, plus
that of 9 other Kik executives, employees, board members, consultants, advisors, and outside
counsel are summarized below.

                                  Title                        Witness              Dates of
                                                                                   Testimony
                Kik CEO                                       Ted              11/17/18
                                                              Livingston       11/18/18

                Kik CFO/COO                                   Peter            9/20/18
                                                              Heinke           9/21/18
                                                                               11/22/19
                Kik Chief Product Officer                     Eran Ben-        10/23/18
                                                              Ari
                Kik Chief Marketing Officer                   Erin Clift       7/26/18

                Kik Director of Corporate                     Tanner           8/20/18
                Development and Advisor to                    Philp            8/21/18
                CEO

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                                  Title                        Witness              Dates of
                                                                                   Testimony
                Kik Senior Manager                            Phil Yang        8/16/18
                Kik General Counsel                           Eileen           8/30/18
                                                              Lyon
                Kik Advisor                                   Jake             7/11/18
                                                              Brukhman
                Kik Board Member                              Paul             6/15/18
                                                              Holland
                Kik Board Member                              Fred             9/5/18
                                                              Wilson
                Kik Consultant                                William          7/30/18
                                                              Raduchel
                Kik VP of Product                             Ilan             12/19/2019
                                                              Leibovich
                Kik’s Outside Counsel                         Ross             12/10/2019
                                                              McKee

        The SEC does not dispute the substantial testimonial record in this case, nor that it has
had ample opportunity to question Kik’s most knowledgeable witnesses about the topics in its
Amended Notice. Indeed, the SEC has abandoned its position (in an earlier version of this letter)
that the above-mentioned Kik witnesses did not provide the information sought by the SEC.
Instead, the SEC argues that it is entitled to a Rule 30(b)(6) deposition regardless of the other
discovery available in the case. (Opp. at 16.)

       But in this case, where the questions to which the SEC seeks answers have been
answered multiple times in testimony and written discovery, allowing a Rule 30(b)(6) deposition
to proceed would impose an undue burden on the party that has already provided those answers.
See Blackrock Allocation Target Shares, 2017 WL 9400671, at *2. Doing so would contradict the
SEC’s supposed goal of “streamlining” discovery.

         Kik has offered to avoid this burden imposed by preparing for duplicative testimony by
designating prior testimony as binding on the corporation. The SEC has not explained why this
is not sufficient other than to suggest that the 30(b)(6) testimony is not duplicative “because the
answers Kik’s designee would be prepared in advance to provide in the deposition are, per se,
sworn corporate admissions by a party.” (Opp. at 16.) This does not give the SEC an automatic
right to obtain the testimony, however. Just because the testimony sought is from the Company
does not mean that it is necessary or proportionate to the needs of the case. Nicholas, 373 F.3d
at 543 (“[T]he simple fact that requested information is discoverable . . . does not mean that
discovery must be had.”); Bai Sahu, 528 Fed. App’x at 103 (precluding 30(b)(6) deposition where
party had not justified why the depositions would not be cumulative of other discovery already
taken). Testimony from Kik as a corporate entity is cumulative and duplicative of prior testimony
given that (as the SEC admits) the testimony of percipient witnesses is admissible against Kik.
See Blackrock Allocation Target Shares, 2017 WL 9400671, at *2. Requiring Kik to prepare a
witness to provide the same testimony that the SEC has already obtained would be a waste of

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resources and impose a disproportionate burden on Kik. The SEC’s desire for additional answers
to questions that other witnesses have already answered is not a sufficient reason to burden Kik
with a Rule 30(b)(6) deposition. 9 See Nicholas, 373 F.3d at 543 (finding no abuse of discretion
in denying 30(b)(6) deposition of corporation where one of the individual witnesses who already
testified would have been designated as the corporate representative).

            2. The Amended Notice Is Duplicative of Written Discovery.

       In addition to being duplicative of the testimony provided by Kik, the Amended Topics are
duplicative of Kik’s written discovery, including narrative written responses, tens of thousands of
produced documents, and multiple other written and verbal communications with the SEC.

        Kik already produced documents that cover the Amended Topics, including all documents
concerning the public sale or private sale; all communications with potential and actual private
and public sale purchasers; and all communications concerning Kin, the public sale, or the private
sale with any regulator, exchange, investor, or board member; and other overly inclusive requests.
Further, Kik has provided RFA responses that overlap with Topics 1, 5, 6-7, and 9-13. Kik also
provided numerous written responses to the SEC over the course of two years that cover the
same ground as the noticed topics.

         A protective order is appropriate here because it would be “more convenient, less
burdensome, and less expensive” for the SEC to use the same information it already obtained in
the 40,000 documents from more than 20 custodians Kik produced, and the additional information
Kik provided through dozens of letters, presentations, and requests for admission. Fed. R. Civ.
P. 26(b)(2)(C). These include documents concerning the public sale or private sale;
communications with potential and actual private and public sale purchasers; and
communications concerning Kin, the public sale, or the private sale with any regulator, exchange,
investor, or board member; and other overly inclusive requests. The SEC does not argue that
the 30(b)(6) testimony is unique from the extensive written discovery, and could not reasonably
do so. At the SEC’s second examinations of Messrs. Ben-Ari and Heinke, the SEC asked almost
identical questions about the same exhibits it asked during the investigation. Given the discovery
record, and the fact that Kik would undoubtedly produce a Rule 30(b)(6) witness who has already
testified, there is no way that the proposed deposition would avoid the same redundancy exhibited
in these two recent depositions.




9 To the extent the SEC believes this insufficient because Kik will not deem entire testimonial transcripts

as corporate admissions, Kik has explained that this Circuit requires parties to identify specific statements
as opposed to entire testimony transcripts for purposes of corporate admissions. See Kolb v. Cnty. of
Suffolk, 109 F.R.D. 125, 128 (E.D.N.Y. 1985) (Rule 801(d)(2)(D) “is rarely applied to allow admission of
whole depositions of witnesses who could easily appear at trial on a party’s direct case.”). Kik remains
willing to do so.

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        3. The SEC Could Have Pursued Less Burdensome Means of Obtaining
           Information.

        The SEC’s contention that it needs the information requested by the Amended Topics
makes no sense in light of its actions during the course of discovery. The SEC withdrew its
deposition of Mr. Livingston, no doubt realizing how repetitive it would be, less than 48 hours
before the deposition. Further, the SEC has not propounded a single interrogatory or followed up
on any of the RFA responses incorporated by reference in the Amended Notice, some provided
over a year ago. Nor has the SEC entertained Kik’s various offers to stipulate to facts or to
designate prior testimony as being made on behalf of the Company. Indeed, given the fact that
it has previously deposed all individuals knowledgeable on certain noticed topics, the SEC’s
blanket refusal to accept designated testimony in lieu of an additional deposition underscores the
fact that the SEC simply seeks to re-depose these same individuals. Because the SEC has had
many opportunities to obtain the information through less intrusive means, a protective order
should be issued to avoid Kik being burdened by the time and expense to prepare for an
unnecessary deposition. Bai Sahu, 528 Fed. App’x at 103 (precluding Rule 30(b)(6) deposition
where the noticing party failed to explain how the information sought could not be obtained by
less burdensome means).

        For the foregoing reasons, Kik respectfully requests this Court enter a protective order
prohibiting the SEC’s 30(b)(6) deposition.

                                            THE SEC’S POSITION

        Kik has informed the SEC that it will appear for a Rule 30(b)(6) deposition, but only if it
deems satisfactory the notice’s list of topics. Kik has twice rejected, wholesale, the SEC’s efforts
to meet its demands, and Kik will not articulate for the SEC the contours of a notice to which it will
agree. According to Kik, not a single one of the SEC’s topics meet Kik’s exacting (yet undefined)
requirements. Accordingly, given the apparent impossibility of the SEC’s task and the fast-
approaching discovery deadline, the SEC submits that a Rule 30(b)(6) deposition is both
appropriate under the rules and the most efficient use of the time remaining, and asks that the
Court order Kik to appear for deposition pursuant to its second, amended notice of deposition
(Exhibit B).

    A. The SEC’s Efforts To Obtain Kik’s Rule 30(b)(6) Deposition

        After advising Kik of its intent to take a Rule 30(b)(6) deposition in September, the SEC
first noticed the Rule 30(b)(6) deposition of Kik on October 25, 2019. 10 See Exhibit A. The
deposition was noticed for November 26, 2019. See id. Kik did not respond in any way to the
deposition notice for 20 days, but on November 14, 2019, Kik demanded that the SEC withdraw
its deposition notice or provide “the SEC’s grounds for refusing to do so.” See Exhibit D. During
a November 19 call that followed, Kik’s counsel informed the SEC staff that Kik refused to testify

10 The SEC sent Kik a letter on September 19, 2019, informing Kik that it wished to take a Rule 30(b)(6)

deposition in November 2019, followed by the SEC’s initial notice of deposition on October 25, 2019. Kik
delayed for nearly two months any response whatsoever regarding the deposition.

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pursuant to Rule 30(b)(6) because the deposition notice was “vague” and called for testimony that
Kik deemed to be irrelevant. Despite these assertions, Kik’s counsel declined to respond to the
SEC’s request that Kik identify any specific topic it contended was vague or irrelevant. Kik did
not ask that the deposition be rescheduled; it simply stated that it would not appear. Kik also
informed the SEC that it intended to seek a protective order in advance of the date set forth in the
notice.

         On Wednesday, November 27, the day after the scheduled date for the deposition, Kik
provided to the SEC its portion of a joint letter motion seeking the Court’s intervention. For the
first time, Kik articulated the specific bases for its refusal to sit for deposition, identifying certain
topics it contended were vague and certain topics it argued were irrelevant or duplicative of other
discovery already obtained by the SEC. In an effort to resolve the impasse and to timely conclude
fact discovery without further Court intervention, on December 8, 2019, the SEC voluntarily
amended its Rule 30(b)(6) deposition notice, significantly paring the topics it wished to cover and
identifying by Bates stamp, author, or date many of the specific exhibits the SEC intended to cover
during the deposition. See Exhibit B. The SEC also provided a redline comparison of the original
and amended deposition notice and offered “to clarify any of the topics that you identify as vague.”
See Exhibit E and F.

        During a telephone conference on December 11 and in a letter dated December 18, Kik
informed the SEC that it still refused to appear for the deposition as noticed. Counsel indicated
that Kik might appear for a deposition pursuant to a notice that met with its approval, but counsel
declined to describe the contours of a notice with which Kik would agree, and Kik maintains that
each and every one of the topics identified in the SEC’s amended notice are improper.

       Rather than engage in the endless goalpost moving Kik suggests, we ask the Court to
intervene.

    B. Rule 30(b)(6) Depositions Are Neither Burdensome Nor Redundant.

        Kik’s argument regarding the supposed impropriety of the deposition begins with two false
premises: first, that Rule 30(b)(6) depositions are extraordinary, necessarily-oppressive discovery
devices, and second, that Rule 30(b)(6) depositions yield evidence identical to the discovery the
SEC has already obtained from individual witnesses and that the SEC is limited to one witness
per factual issue. But, neither of these premises are true.

        First, Rule 30(b)(6) depositions are an uncontroversial discovery device that have been
part of the discovery rules for decades. And numerous courts have expressly noted that such
corporate depositions tend to “streamline the discovery process.” QBE Ins. Corp. v. Jorda
Enterprises, Inc., 277 F.R.D. 676, 687 (S.D. Fla. 2012). See also Mill–Run Tours, Inc. v.
Khashoggi, 124 F.R.D. 547, 549–50 (SDNY 1989) (“First, the interrogatory format does not permit
the probing follow-up questions necessary in all but the simplest litigation. Second, without oral
deposition, counsel are unable to observe the demeanor of the witness and evaluate his credibility
in anticipation of trial. Finally, written questions provide an opportunity for counsel to assist the
witness in providing answers so carefully tailored that they are likely to generate additional
discovery disputes.”) (citations omitted); Greenberg v. Safe Lighting Inc., Inertia Switch Div., 24

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F.R.D. 410, 411 (SDNY 1959) (“Experience has made it abundantly clear that the advantages of
oral examination far outweigh the advantages of written interrogatories in carrying out the
deposition procedures in aid of discovery under the [Federal R]ules [of Civil Procedure].”);
National Life Ins. Co. v. Hartford Acc. and Indem. Co., 615 F.2d 595, 600 n. 5 (3d Cir. 1980)
(“[T]here are strong reasons why a party will select to proceed by oral deposition rather than
alternate means, most significantly the spontaneity of the responses.”). Consequently, Kik’s
assertion that the deposition will be more burdensome than interrogatories, requests for
admission, or negotiated stipulation is simply not borne out by experience, as Courts have noted
time and again.

        In sum, as this court has long held, “[t]he fact that [one party] has offered [the opposing
party] certain stipulations, which, in its judgment, will obviate the necessity of further depositions,
should not foreclose the right of [parties] to prepare their [case] in accordance with provisions of
the Rules of Civil Procedure.” Alfred Bell & Co. v. Catalda Fine Arts, 5 F.R.D. 327, 328 (SDNY
1946); see also QBE Ins., 277 F.R.D. at 689 (“In responding to a Rule 30(b)(6) notice or
subpoena, a corporation may not take the position that its documents state the company’s position
and that a corporate deposition is therefore unnecessary. Similarly, a corporation cannot point to
interrogatory answers in lieu of producing a live, in-person corporate representative designee.”). 11

        Second, Kik’s argument that when there are individual witnesses a plaintiff simply cannot
take a Rule 30(b)(6) deposition of a corporate defendant is not the law. Individual and corporate
depositions are not equivalents. In contrast to a deposition of an individual deponent, Rule
30(b)(6) requires a corporate deponent to designate a witness that is prepared in advance to
discuss identified topics, and the corporation is then bound by the designee’s answers. See Reilly
v. Natwest Markets Group, Inc., 181 F.3d 253, 268 (2d Cir.1999) (“To satisfy Rule 30(b)(6), the
corporate deponent has an affirmative duty to make available such number of persons as will be
able to give complete, knowledgeable and binding answers on its behalf.”) (internal citations
omitted). Consequently, the Rule 30(b)(6) deposition the SEC seeks is not duplicative of the
depositions and other discovery the SEC has obtained to date, because the answers Kik’s
designee would be prepared in advance to provide in the deposition are, per se, sworn corporate
admissions by a party. See In re Vitamins Antitrust Litig., 216 F.R.D. 168, 174 (DDC 2003)
(rejecting argument that a Rule 30(b)(6) deposition duplicates discovery obtained from corporate
employees because “[defendant’s] Rule 30(b)(6) deposition is a sworn corporate admission that
is binding on the corporation.”). Stated another way, “the testimony of a Rule 30(b)(6) designee
represents the knowledge of the corporation, not of the individual deponents,” and “[a] Rule
30(b)(6) designee presents the corporation’s position on the noticed topics.” Great American Ins.
Co. of New York v. Vegas Const. Co., 251 F.R.D. 534, 539 (D. Nev. 2008). While many of Kik’s
executives and board members have already provided helpful evidence that is admissible against


11 In a reversal from its November 27, 2019 draft letter brief describing the dates and other details of

allegedly “extensive written discovery during the investigation and litigation” taken by the SEC, Kik now
seems to complain that the SEC should have taken more written discovery. Supra Kik Brief at 3 (noting
SEC has not sought further RFA responses or propound interrogatories). In any event, as the case law
confirms, it is the SEC’s prerogative to elect to proceed by Rule 30(b)(6) deposition rather than engage in
the iterative written discovery process Kik now says it prefers.

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Kik, the statements of Kik’s designee are unique in that they will be prepared in advance and
wholly attributable to Kik. 12

        Accordingly, the deposition the SEC seeks is neither overly burdensome nor redundant,
and it should go forward as noticed.

    C. Kik Has Rebuffed The SEC’s Efforts To Obtain Discovery By Other Means.

       Kik also argues that the SEC is or should be required to seek discovery from Kik through
a negotiated stipulation or through requests for admission – i.e., written answers that Kik’s
attorneys can negotiate and finesse.

       Where appropriate, the SEC has entered into a stipulation to obviate a deposition – the
SEC did just this prior to canceling the deposition of Kik’s CEO. But, just because the SEC chose
to do so once does not mean the SEC is required to do so in every instance, particularly for the
named defendant who is obligated to prepare on designated topics. Greenberg, 24 F.R.D. at 411
(“There is no burden on the party seeking the deposition to show that written interrogatories would
not be sufficient for its purposes.”).

         Kik’s demand that the SEC seek only written discovery from Kik must also be seen in
context. While Kik contends that requests for admission are now among the company’s preferred
discovery devices, Kik objected and refused to respond to many of the SEC’s requests for
admission. For example, Kik now contends that there is no reason for a company representative
to sit for a deposition because numerous Kik executives have already provided sworn testimony.
But, when asked to admit that such witnesses – including Kik’s own CEO – testified regarding
matters within the scope of their employment and that such testimony constituted the statements
of Kik pursuant to Evidence Rule 801(d)(2), Kik refused, claiming that each such transcribed and
videotaped testimony 13 was “outside the scope of Kik’s personal knowledge” and an “improper
and inefficient use of this procedural mechanism,” improperly “calls for a legal conclusion,” and
“assumes Kik’s admission of authenticity.” See Exhibit G at 27 (with respect to CEO’s testimony),
28 (former Chief Marketing Officer), 29-30 (Manager, Special Initiatives and Director, Corporate
Development in 2017), 30 (General Counsel), 32 (former CFO), 35 (former Chief Product Officer).

       In short, the SEC attempted to obtain relevant evidence through written requests but Kik
stymied that effort through boilerplate and nonsensical objections like those set forth above. Kik
cannot object to every form of discovery on the ground that another discovery tool is available

12 A Rule 30(b)(6) deposition is also potentially valuable because, under Federal Rule of Civil Procedure

32(a)(3), the deposition may be used for any purpose at trial by an adverse party (here the SEC),
regardless of the availability of the witness. See 1970 Advisory Committee Note (stating the rule “is
appropriate, since the deposition is in substance and effect that of the corporation or other organization
which is a party”).
13 The SEC provided this and other investigative testimony transcripts to Kik on June 28, 2019, several

weeks prior to the commencement of discovery in this matter. Kik’s counsel was present for each of the
above-listed testimonies.

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(and then object when we use that tool). Nor can Kik limit the SEC’s ability to take its deposition
regarding relevant topics by pointing to the testimony of Kik employees (who Kik may or may not
dispute speaks for the company on the relevant issue). Accordingly, the SEC submits that a
deposition of Kik is the most efficient use of the limited time remaining in the fact discovery period,
and we submit that the Court should order that it go forward.


    D. The Discovery The SEC Seeks Is Relevant And Has Been Described With
       Reasonable Particularity.

       Each of the topics contained in the SEC’s amended notice seeks evidence relevant to the
SEC’s claim or one of Kik’s affirmative defenses, and each has been described with the
“reasonable particularity” required by the rule. 14

 Topic Summary                                                 Relevance
   1   “Kik’s corporate structure, ownership                   Background; allegations in the complaint;
       and offices”                                            Kik’s third affirmative defense.
   2   “Kik’s current financial condition and                  Remedies
       operations”
   3   “Kik’s plan for the token offering”                     The allegations set forth in the complaint
   4   “Kik’s announcement and marketing of                    The allegations set forth in the complaint
       Kin to potential purchasers”
   5   “Public statements and presentations                    The allegations set forth in the complaint
       . . . relating to the Kin offering”
   6   “Kik’s consideration of whether the                     The allegations set forth in the complaint;
       offer and sale of Kin was an offer and                  the allegations set forth in Kik’s answer and
       sale of an investment contract”                         affirmative defenses.
   7   “Kik’s efforts to enter into SAFTs”                     The allegations set forth in the complaint
   8   “Details and circumstances of the                       The allegations set forth in the complaint;
       development of the ‘Minimum Viable                      the allegations set forth in Kik’s answer
       Product’ (‘MVP’) of Kin as referred to
       in Kik’s Answer to Paragraph 100 of
       the Complaint”
   9   “The details of Kik’s public sale of Kin                The allegations set forth in the complaint
       in September 2017”
  10   “The delivery and allocation of Kin                     The allegations set forth in the complaint
       tokens to SAFT participants, public
       sale
       purchasers, Kik, the Kin Foundation,
       and/or any other individual or entity in
       September 2017”


14 Kik argues that the requirement is not “reasonable particularity” but is instead “painstaking specificity.”

The SEC submits that the text of the rule speaks for itself.

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 Topic Summary                                                 Relevance
  11   “Kik’s planned and actual use of the                    The allegations set forth in the complaint;
       Kin token offering proceeds”                            the allegations set forth in Kik’s answer;
                                                               remedies
   12     “The development, creation and                       The allegations set forth in the complaint;
          operation of the Kin Ecosystem”                      the allegations set forth in Kik’s answer;
                                                               remedies
   13     “The topics covered by your letter                   Follow-up questions regarding statements
          dated November 17, 2017”                             made by Kik’s counsel on behalf of Kik
                                                               during the SEC’s investigation regarding the
                                                               token offering.
   14     “The topics covered by the stipulation               Follow-up questions regarding topics
          dated November 12, 2019”                             covered by the parties’ November 12, 2019
                                                               stipulation
   15     “The topics covered by your letter                   Follow-up questions regarding statements
          dated November 4, 2019”                              made by Kik’s counsel on behalf of Kik and
                                                               in lieu of producing documents in response
                                                               to the SEC’s requests for production of
                                                               records.
   16     “Kik’s responses to the SEC’s                        Follow-up questions regarding Kik’s
          Requests for Admission Nos. 51, 77,                  responses to certain of the SEC’s requests
          86, 99, 107, 109-114, 117-129, 132-                  for admission.
          136, 144-148
   17     “Testimony Exhibit 206”                              Follow up questions regarding exhibit
                                                               marked during the SEC’s investigation.

    E. Kik’s New Arguments In Its Revised Letter Brief Do Not Support A Protective Order

        On January 6, 2020, in response to the draft SEC portion of this letter brief which the SEC
sent to Kik on December 20, 2019, Kik sent the SEC a substantially revised – and significantly
longer (now 13 pages) – portion of Kik’s letter brief. The SEC here briefly responds to Kik’s newly
fashioned arguments, none of which merit the quashal of the Rule 30(b)(6) deposition.

       Specifically, Kik’s newly expanded reliance on cases in which courts restricted Rule
30(b)(6) depositions is meritless, as the circumstances of those cases are plainly distinguishable:

            •   In Janki Bai Sahu v. Union Carbide Corp., 528 Fed. Appx. 96 (2d Cir. 2013) (cited
                supra Kik Brief at 10, 12, 13, and footnotes 1 and 7), the court upheld denial of a
                deposition that had been requested as additional discovery – and requiring the
                district court’s permission – pursuant to Federal Rule of Civil Procedure 56(d), and
                where the events at issue had taken place “between fifteen and thirty-five years
                ago” and “the benefit to the Plaintiffs would likely be extremely low” as “no witness
                can be expected to provide accurate and detailed accounts of events so far in the
                past,” id. at 103. Here, by contrast, the SEC seeks a deposition to which it is


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                 presumptively entitled within the initial fact discovery period on events from two to
                 three years ago.

             •   Nicholas v. Wyndham International Inc., 373 F.3d 537 (4th Cir. 2004) (cited supra
                 Kik Brief at 4, 10, 12, and footnotes 1 and 8) is equally far afield. In Nicholas,
                 involving tort claims against a resort by guests, the court of appeals upheld the
                 magistrate judge’s denial, in an ancillary proceeding outside the jurisdiction of the
                 pending action, of a 30(b)(6) deposition of a third-party corporation that was closely
                 held by one of the individual plaintiff-guests who already had been deposed. The
                 court of appeals highlighted the “extraordinary circumstances presented” by the
                 case, including the concession by Wyndham’s attorney that no further information
                 about liability or damages could be obtained from the third-party corporation. See
                 id. 543. Here, of course, the SEC seeks the 30(b)(6) deposition of the sole party-
                 defendant, Kik, and this case presents none of the extraordinary circumstances of
                 Nicholas.

             •   Blackrock Allocation Target Shares: Series S Portfolio v. Wells Fargo Bank, Nat’l
                 Ass’n, 2017 WL 9400671 (S.D.N.Y. Apr. 27, 2017) (cited supra Kik Brief 4, 10, 12
                 and footnote 1), far from supporting Kik’s position, confirms the importance of the
                 availability of the deposition, because, “most critically, the organization will be
                 bound by the answers provided by the Rule 30(b)(6) witness,” id. at *1. The
                 Blackrock court ordered that Rule 30(b)(6) depositions proceed on numerous
                 topics for numerous corporate parties, and stressed that it sought “[t]o avoid the
                 fundamental unfairness of denying the Coordinated Plaintiffs any Rule 30(b)(6)
                 deposition of [the defendant].” Id. at *3.

Accordingly, none of Kik’s objections have merit, and Kik has not carried its burden of
demonstrating that the deposition noticed by the SEC should be quashed. And the SEC asks
that the Court order Kik to appear for deposition as set forth in the SEC’s amended notice of
deposition.



Sincerely,

/s/ Patrick E. Gibbs
Patrick E. Gibbs

Counsel for Defendant Kik Interactive, Inc.



cc:     All Counsel of Record (by ECF)




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